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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 TYREZ BOWDEN,                                  ) CASE NO.: 1:22-CV-01319
                                                )
        Plaintiff,                              ) JUDGE: CHARLES ESQUE FLEMING
                                                )
 vs.                                            ) STATUS REPORT
                                                )
 CITY OF EUCLID, et al.,                        )
                                                )
        Defendants                              )


       Now come Defendants, by and through counsel, Mazanec, Raskin & Ryder Co., L.P.A.,

and hereby submit the following status report regarding the stipulated dismissal due January 5,

2023. This Court granted the Parties until January 5, 2023 to submit the Stipulated Notice of

Dismissal due to Plaintiff being incarcerated causing delays. Undersigned counsel has made

several attempts to obtain the signature of Plaintiff to no avail. These attempts include:

              On August 4, 2022 undersigned counsel sent the stipulated dismissal and settlement
               agreement to Brian P. Scherf for assistance obtaining the required signatures;

              On August 22, 2022, undersigned counsel sent a follow up email to Brian P. Scherf
               requesting a status update on the stipulated dismissal and settlement agreement with
               no response;

              On September 6, 2022 Brian P. Scherf and Sergey Kats informed undersigned
               counsel Plaintiff had been sentenced and incarcerated but agreed to continue to
               assist in obtaining Plaintiff’s signature;

              On October 17, 2022, and October 29, 2022, undersigned counsel sent follow up
               emails to Brian P. Scherf and Sergey Katz requesting a status update on the signed
               documents but received no response;

              On November 18, 2022, undersigned counsel received a control number from
               Lorain County Correctional and sent the stipulated dismissal to Plaintiff requesting
               his signature.
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       To date, undersigned counsel has not received the signed stipulated dismissal or settlement

agreement from Plaintiff, Brian P. Scherf, or Sergey Katz. Undersigned counsel will continue

their efforts to obtain the required signatures and submit the stipulated dismissal to the Court.


                                              Respectfully submitted,

                                              MAZANEC, RASKIN & RYDER CO., L.P.A.

                                              s/Edmond Z. Jaber
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                                              JOHN D. PINZONE (0075279)
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                                              Police Department and Michael Amiott




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on January 5, 2023, a copy of the foregoing Status Report was filed

electronically. Notice of this filing will be sent to all registered parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system and by regular

U.S. Mail to the following:

Tyrez Bowden (A792620)
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London, OH 43140
  Pro Se Plaintiff

                                               s/Edmond Z. Jaber
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                                               JOHN D. PINZONE (0075279)
                                               EDMOND Z. JABER (0096355)

                                               Counsel for Defendants City of Euclid, Euclid
                                               Police Department and Michael Amiott




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